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                             DAVIDSON COUNTY, TENNESSEE
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                   HONORABLE ELLEN HOBBS LYLE, CHANCELLOR
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                                     Plaintiffs/Appellants
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         OF                    (Fo. M2018-01385-SC-RDO-C~ ~                  Next Term,

                                     SUPREME COURT
                                                              ~
       Cause                                                  ~                   20
                                    TRANSMITTED ON:

                                       August 21, 2018
                                                              ~
   TONY PARKER, IN HIS OFFICIAL CAPACITY AS TENNESSEE COMMISSIONER OF
                             CORRECTION, ET AL
                                    Defendants/Appellees



                            Trial Transcript from July 16, 2018
                                     Pages 1369 - 1520


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   1   suppoBe, for heavy smokers.

   2   Q.          And just to clarify, you mentioned several

   3   drugs that the Court is well familiar with at this

   4   point.      But were you, before beginning to look at

   5   these autopsies, familiar with the function of

   6   potasBium chloride as a medical doctor?

   7   A.          Oh, yes.       Potassium chloride is used in

   8   cardiac surgery to stop the heart.

   9   Q.          And that's something, even though you work

 10    primarily on the deceased,                that you knew from your

 11    residency; is that fair?

 12    A.          From medical school.               I watched cardiac

 13    surgeons stop the heart.

 14    Q.          So as        again,      just still speaking sort

 15    of at a level of generality, what struck you as

 16    you looked through these autopsies that then made

 17    you examine them more closely?

 18    A.          I was struck by the abnormalities in the
 19    lung, as I mentioned.              All of the lungs were
 20    heavy.      There were none of them that were what I
 21    would expect, in that 350- to 400-gram range.
 22                But in addition to that, they all

 23    showed -- not all, but the majority of them, over

 24    85 percent of them showed pulmonary edema.                       And

 25    that's certainly not expected in someone who dies


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   1   instantaneously.            And a good number of them showed
   2   fulminant pulmonary edema, which indicates it's
   3   sudden and severe.             And that's evidenced by
   4   bubbles, froth and foam, both in the lung tissue
   5   and in the larger airways.
   6               I don't see that in a hospital autopsy
   7   except maybe once every 10 years, where someone
   8   has had a catastrophic problem with their heart
   9   that has led to acute, fatal pulmonary edema.
 10    Q.          You've noted initially that the lungs were
 11    heavy.      Is that a specific finding or considered a
 12    nonspecific finding?              What does that mean to you?
 13    A.          It's a nonspecific finding, but as I say,
 14    it was unexpected to me.
 15    Q.          If someone were to suffer a brain aneurysm
 16    and fall dead quickly, would they have heavy
 17    lungs?
 18    A.          They would not.             If someone dies
 19    instantaneously, they would not have heavy lungs.
 20    That's the only way we know the normal weight of
 21    lungs, other than taking it out at surgery, and no
 22    one would take out a normal lung at surgery.
 23    Q.          So let's talk about pulmonary edema.                      Can
 24    you ex.plain for the Court what that term means in
 25    an anatomical way?


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   1   A.          Pulmonary edema is a accumulation of fluid

   2   in the airspaces of the lung, and it has a variety

   3   of causes, the final common pathway of which is

   4   always injury to the blood vessels and the lining

   5   cells of the lung, allowing fluid and sometimes

   6   blood, to escape from the blood vessels into the
   7   airspaces.

   8   Q.          What's the difference in a finding of

   9   pulmonary edema versus a finding of congestion 1n

 10    the lungs?

 11    A.          Congestion, as used by pathologists,
 12    refers to an increased amount of blood in an organ
 13    or tissue.        So tissues that are congested will

 14    have dilated blood vessels and will be very red

 15    and boggy on gross examination, but they won't
 16    necessarily show edema.               They'll be just full of

 17    blood.      The blood is in the right place, though,

 18    in the blood vessels.
 19    Q.          So if a lung is said to congested, how is
 20    that different from edema?                 Where is the fluid?
 21    A.          The fluid is still in the blood vessels.

 22    Q.          As opposed to?

 23    A.          Being in the airspaces.                  Having said that,

 24    it's certainly the case that persistent, severe

 25    congestion can be followed by pulmonary edema if


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   1   it is present for long enough.
   2   Q.           That was going to be my next question.
   3   What are the known causes of pulmonary edema?
   4   A.           So people typically divide pulmonary edema
   5   into cardiogenic and non-cardiogenic.
   6                Cardiogenic pulmonary edema occurs when
   7   the heart is not pumping properly and basically
   8   blood backs up behind it into the lungs.                           You get
   9   a kind of hyperstatic pressure that leads to fluid
 10    leaking into the lungs.
 11                 Non-cardiogenic pulmonary edema is a broad
 12    range of causes, including inhalation of toxic
 13    gas, injection of the toxins, drowning.                          A variety
 14    of physical chemical assaults to the lung can
 15    cause pulmonary edema of the non-cardiogenic type.
 16    Q.           From your clinical practice do you know
 17    what the symptoms of pulmonary edema are?
 18    A.           Yes.     Just as a one-time medical student,
 19    intern, and now as a practicing pathologist, we
 20    all know that pulmonary edema, when it begins, the
 21    patients are short of breath.                    And they feel like
 22    they can't catch their breath, and they breathe a
 23    bit faster.
 24                 As it gets worse, they may have the sense
 25    of air hunger and be gasping for air.                         As it gets


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   1    even worse, they may have a sense of terror,
   2   panic, drowning, asphyxiation.                      It's a medical
   3   emergency and it's a state of extreme discomfort.
   4   Q.           In a hospital setting, if someone is
   5   experiencing those symptoms, what is done for that
   6   person?
   7   A.           They're given diuretics to remove fluid
   8    from the body and, therefore, also from the lung.
   9   And because they're in a such a state of panic,
 10    they're given morphine, typically.
 11                 It used to be thought that morphine was
 12    useful to dilate the blood vessels in the lungs,
 13    but we now know that -- we now believe that the
 14    morphine is more helpful as a palliative measure.
 15     It calms the patients down and thereby reduces the
 16    heart rate because it reduces the terror.                            So
 17    diuretics, oxygen, and opiates are helpful.
 18    Q.           You said that there were indications in a
 19    number of these autopsies of "fulminant pulmonary
 20    edema."
 21                 Could you tell us what "fulminant" means
 22    in that context?
 23    A.           So "fulminant" refers to something that is
 24    sudden and severe.              And when I see froth
 25                         THE COURT:         Pardon me.         Are you


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   1    saying, like, f-o-m-e-n, like "foment"
   2                         THE WITNESS:          No, "fulminant,"
   3    f-u-1 --
   4                         THE COURT:         "Fulmonate,"
   5    f-u-1-m-o-n-a-t-e?
   6                         THE WITNESS:          No, f-u-1-m-i-n-a-n-t.
   7                         THE COURT:         "Fulminant."           Thank you.
   8   All right.
   9                         THE WITNESS:          So "sudden and severe"
 10     in this context would mean it was -- even though
 11     it showed fluid in the form of bubbles in the
 12     tracheal/bronchial tree, so not just fluid and
 13     bubbles in the lung tissue, but enough that it
 14     actually left the lungs and went up into larger
 15     airways.
 16                          That, I think to anyone, is evidence
 17     of fulminant pulmonary edema.
 18     BY MS. HARWELL:
 19     Q.          You've also said that there were a number
 20     more where you found acute pulmonary edema.                             What
 21     does "acute" mean to a pathologist in that
 22     context?
 23    A.            "Acute," when it's used properly, always
 24     refers to a time frame.                 And in this context we're
 25     talking about pulmonary edema as something that


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   1   comes on over the course of minutes.                         In other

   2    situations, like infections of bones it has acute

   3   osteomyelitis, acute infection of the bone is

   4   weeks, but here we're talking about something that

   5   comes on over the course of minutes.

   6   Q.           And when you looked at these autopsies,

   7   what allowed you to make a finding that something
   8   was acute?

   9   A.           I knew the time course, the time course of

 10    the execution, so it had to be acute.                          That's one
 11    way to know.           But I also had the knowledge that
 12    there were these bubbles, this foam,                       this froth,

 13    and that doesn't appear in chronic pulmonary edema

 14    that :is compensated.              You just will see heavy
 15    lungs and some edema fluid.                    When you actually
 16    have bubbles, foam and froth,                   it indicates acute

 17    pulmonary edema.

 18    Q.           So you talked about two different concepts
 19     there and how to break them apart.                       First you
 20     talked about time course.                 And I think I know that
 21    in assessing the time course, you had some
 22    assumptions about the people who came in to be

 23    executed; is that correct?

 24    A.           Yes.      I had some assumptions and some

 25    knowledge.          I know that -- I understand that the


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   1   inmates were on death watch before being executed
   2   and were mobile, up and around, talking to family
   3   members and religious leaders.                       And I didn't see
   4   any evidence, at least in the death watch reviews
   5   that I read, that anyone was sick, unable to walk
   6   properly, was short of breath.
   7               I would have thought that something like
   8   that would be recorded, and I didn't see any
   9   evidence of that.
 10    Q.          And to be clear, Dr. Edgar, if somebody
 11    had this level of edema, would it cause symptoms
 12    that would be noticeable to a layperson?
 13    A.          Absolutely.         If they had the findings in
 14    the worst of these cases, they would be gravely
 15    ill.
 16    Q.          You also talked, then, about froth and
 17    foam, and I would like us to discuss that concept
 18    for the Court a little bit before we get into the
 19    actual autopsies.
 20                When you say "foam," what composes this
 21    foam?
 22    A.          So foam in the setting of pulmonary edema
 23    is composed of three main things, perhaps four.
 24    The three main things are this protein that lines
 25    the surface of normal lungs that helps to reduce


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   1    the surface tension, so it will keep the airways
   2    in the airspaces expanded.                 And it's called
   3    surfactant.         It's like a detergent.
   4    Q.          Could you spell that for the court
   5    reporter?
   6    A.          s-u-r-f-a-c-t-a-n-t.               It's what babies
   7    born very prematurely lack so their lungs are not
   8    expandable.
   9                So surfactant mixes with water and air,
  10    and together those things, under the energy of
  11    breathing, moving air back and forth and in and
  12    out at the airspaces, produce bubbles.                      And it's
  13    fine bubbles.          Foam or froth is the term that's
  14    used.
  15    Q.          And did you provide me with a medicolegal
  16    study regarding the production of foam and froth
  17    with regard to drowning?
  18    A.          Yes, I did.
  19    Q.          I'm going to show you that study.                    It's
  20    previously been provided to the defense.                        I'll ask
  21    if you recognize that study.
  22    A.          I do recognize it.
  23    Q.          You provided the study for us --
  24                       MS. HARWELL:           Your Honor, for the
  25    record, it's a medicolegal study of drowning


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   1    deaths.
   2    BY MS. HARWELL:
   3    Q.          Because the study outlines what
   4    important -- how does it highlight what you just
   5    said?
   6    A.          Well, it discusses what pulmonary edema
   7    froth is.        At the last paragraph on page 3, it
   8    says, "The froth consists of a whipped-up mixture
   9    of drowning medium, air and secretions from
  10    bronchial mucous glands."
  11                Bronchial mucous glands, I think, are
  12    actually a lesser component.                    When I said there
  13    are possibly four components, surfactant, when
  14    chemists have looked at the composition of
  15    pulmonary edema foam, they find more surfactant
  16    than mucous, but there are situations in which the
  17    pulmonary edema fluid is caused by excess mucous.
  18                 In any event, a it's a whipped-up mixture
  19    of air, fluid and some kind of protein.
  20    Q.          And when you say "whipped-up," that
  21    implies some sort of energy or force; is that
  22    correct?
  23    A.          Some kind of physical action, yes.                       It
  24    doesn't just happen by itself in a non-moving
  25    lung.


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   1   Q.          And in a moving lung -- maybe I'm being a

   2   little bit too basic, but what is the action that

   3   whips it up?

   4   A.          It's just the action of breathing, moving

   5   of the air in and out of the airspaces and the
   6   moving of fluid in and out of the airspaces.

   7   Q.          So that is to say foam is only formed when

   8   the subject is breathing?

   9   A.          Correct.

  10   Q.          Is the presence or absence of foam or

  11   froth in a lung an objective or subjective finding

  12   for a pathologist?

  13   A.          I think that's always a difficult question

  14   to answer, but along the spectrum of objective and

  15   subjective, it's closer to the objective end.
  16   It's a finding that's readily recognizable and

  17   difficult to miss.            And that's why I would
  18   consider it to be more on the objective side.
  19   Q.          I think at one point you told me it's sort
  20   of like recognizing the color of blue?
  21   A.          Yes, it's like that.               There are people who
  22   might not immediately recognize blue, but in the

  23   right light, it's blue to everyone.

  24   Q.          If you review an autopsy and there's no

  25   froth or foam noted on the exam, does that


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    1   automatically, in your mind, rule out the
    2   possibility that any edema noted was acute?
    3   A.          I don't think I could say that.                  It's
    4   quite possible that there was acute edema that
    5   began but was abruptly terminated by death.                         So
    6   you may have a minor amount of edema that's not
    7   visible to the naked eye but could be seen under
    8   the microscope if the patient didn't live long
    9   enough to see it develop.
  10    Q.          Are there also things that can happen
  11    postmortem to a body that would cause foam or
  12    froth to change or dissipate?
  13    A.          Yes.     After death, and I think probably
  14    from people's own experience, you know that foam
  15    and froth eventually breaks down.                    Bubbles don't
  16    last forever, they disappear.                    I don't know
  17    specifics, but I imagine that there are physical
  18    constraints on what would keep bubbles around,
  19    temperature and so forth.
  20                But in time, bubbles break down and leave
  21    a little bit of fluid behind.
  22    Q.          So that is to say if there's extra fluid,
  23    it could have, at one point, been foam or froth?
  24    A.         Absolutely.
  25    Q.          To be clear just about your findings as


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   1    you reviewed these autopsies, did you report a
   2    finding where the state pathologist did not?
   3    A.              (Pause.)
   4    Q.          That is to say, does your report basically
   5    adopt or attribute or interpret findings of other
   6    pathologists, or did you go back in and
   7    second-guess them?
   8    A.          No, I did not second-guess.                 I took what I
   9    saw to be correct because I had no reason not to.
  10    I would say that there were occasions in these
  11    reports where things were noted on examination but
  12    not indicated in the final diagnosis, so I was
  13    sort of second-guessing them there, saying,                       "Gosh,
  14    I would have put that brain tumor in the final
  15    diagnosis line."
  16                But I wasn't -- I took what I had as
  17    someone going in and seeing for themselves.
  18    Q.          Thank you.
  19                Let's turn to the autopsies themselves
  20    now.     Did we prepare a chart of your findings with
  21    regard to each of these autopsies?
  22   A.           Yes.
  23    Q.          Do you have one with you?
  24   A.           I    do not.
  25    Q.          I    will hand you one.


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   1                          MS. HARWELL:         Your Honor, if I could
   2    put it on the ELMO as well, if it please the
    3   Court?
   4                          THE COURT:        Yes, that would be fine.
   5    Thank you.
    6                         MS. HARWELL:         Here we go.
    7   BY MS. HARWELL:
    8   Q.           Dr. Edgar, I don't know if it will become
    9   necessary, but that screen in front of you is
  10    actually a touch screen, so if you need to gesture
  11    or indicate something for the Court, that actually
  12    works.
  13    A.           Okay.
  14    Q.           Have you seen this chart before?
  15    A.           Yes, I have.
  16    Q.           In fact,      is it a chart that you and I
  17    prepared together?
  18    A.           Yes, it is.
  19    Q.           To be clear, I did not do the science
  20    parts; you told me how to do the science parts?
  21    A.           I added          I basically abstracted the
  22    science parts into the chart.
  23    Q.           And my role was a little more pedantic of
  24    putting things in alphabetical order and making it
  25    look pretty; is that right?


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